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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA

v. CRIMINAL NO. | 'QOCRU§-HS0- ICE

ANTONY DANIEL ABREU, et al.

NOTICE OF MAXIMUM PENALTY

ANTONY DANIEL ABREU

a/k/a Anthony Abreu,
CHRISTOPHER Q. NGUYEN and
DARRELL YOUNG

Count 1: Conspiracy to Possess With Intent to Distribute a Controlled
Substance, cocaine.
21 U.S.C. §§ 846 and 841(b)(1)(A)

e Not less than ten (10) years; Nor more than life imprisonment
e Not more than a $10,000,000 fine

e At least five (5) years supervised release

e $100 special assessment

ANTONY DANIEL ABREU
a/k/a Anthony Abreu,

CHRISTOPHER Q. NGUYEN and
DARRELL YOUNG

Count 2: Attempt to Possess With Intent to Distribute a Controlled Substance,
cocaine.
21 U.S.C. §§ 846 and 841(b)(1)(b)

e Not less than five (5) years; Nor more than forty (40) years
imprisonment

e Not more than a $5,000,000 fine

e At least four (4) years supervised release

e $100 special assessment

